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                                                                    Page 1
          IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF LOUISIANA
                        - - -

        IN RE: XARELTO         : MDL NO. 2592
        (RIVAROXABAN) PRODUCTS :
        LITIGATION             : SECTION L
                               :
        THIS DOCUMENT RELATES : JUDGE ELDON
        TO ALL CASES           : E. FALLON
                               :
                               :
                               : MAG. JUDGE
                               : NORTH
                       VOLUME I
                         - - -
                    August 3, 2016
                         - - -
                      - PROTECTED -
       - SUBJECT TO FURTHER PROTECTIVE REVIEW -
                    Videotaped deposition of
       NAUMAN M. SHAH, taken pursuant to notice,
       was held at the law offices of Drinker
       Biddle & Reath, 105 College Drive East,
       Princeton, New Jersey, beginning at 9:07
       a.m., on the above date, before Michelle
       L. Gray, a Registered Professional
       Reporter, Certified Shorthand Reporter
       and Notary Public.
                        - - -
               GOLKOW TECHNOLOGIES, INC.
           877.370.3377 ph | 917.591.5672 fax
                    deps@golkow.com


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                                                                    Page 3
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                   Daniel Ortega
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 12              Dylan Green
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                                                                 Page 363
  1    was not.
  2              Q.      At this time he was not the
  3    commissioner of the FDA, but he was the
  4    person who conducted the primary trial
  5    that supports the Afib indication ROCKET,
  6    correct?
  7              A.      He was.     And he was also
  8    leading the Duke Clinical Research
  9    Institute, which obviously conducted
 10    clinical trials for a living.
 11              Q.      Oh.    Are you calling into
 12    question the motives of Dr. Califf, the
 13    current FDA commissioner -- are you
 14    saying that he was trying to make money?
 15              A.      I would say that that's
 16    probably one of his motives, was to
 17    conduct another trial, because it was
 18    part of the way that DCRI made money.
 19              Q.      So you -- you -- you call
 20    into question his statements about there
 21    being a need to do a dose-finding study
 22    to find the optimal dose?
 23              A.      I don't doubt that
 24    Dr. Califf believed that as a scientist.

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                                                                 Page 467
  1
  2                         CERTIFICATE
  3
  4
  5                 I HEREBY CERTIFY that the
       witness was duly sworn by me and that the
  6    deposition is a true record of the
       testimony given by the witness.
  7
                    It was requested before
  8    completion of the deposition that the
       witness, NAUMAN M. SHAH, have the
  9    opportunity to read and sign the
       deposition transcript.
 10
 11
 12              __________________________________
                 MICHELLE L. GRAY,
 13              A Registered Professional
                 Reporter, Certified Shorthand
 14              Reporter and Notary Public
                 Dated: August 3, 2016
 15
 16
 17                 (The foregoing certification
 18    of this transcript does not apply to any
 19    reproduction of the same by any means,
 20    unless under the direct control and/or
 21    supervision of the certifying reporter.)
 22
 23
 24

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